                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

In re:                                                     )    Chapter 11
                                                           )
Squirrels Research Labs LLC, et al.1                       )    Case No. 21- 61491
                                                           )    (Jointly Administered)
                           Debtors.                        )
                                                           )    Judge Russ Kendig


         NOTICE OF HEARING OF CONFIRMATION OF THE CHAPTER 11 PLAN
              AND RELATED VOTING AND OBJECTION PROCEDURES

       PLEASE TAKE NOTICE THAT on March 14, 2022, the United States Bankruptcy
Court for the Northern District of Ohio (the “Court”) entered an order [Docket No. 184] (the
“Order”) establishing dates related to confirmation of the Plan of Reorganization (as modified,
amended, or supplemented from time to time, the “Plan”) filed on February 21, 2022.

       PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider confirmation of the Plan (the “Confirmation Hearing”) will commence on April 26, 2022
at 2:00 p.m. (ET), before the Honorable Russ Kendig, United States Bankruptcy Judge, Ralph
Regula Federal Building and U.S. Courthouse, 401 McKinley Avenue, SW, Canton, Ohio 44702,
Dial In: (888) 684-8852; Access Code: 3303949#2; provided however, the Court may continue
the hearing without further notice.

          PLEASE TAKE FURTHER NOTICE THAT a copy of the Plan is enclosed with this
Notice.

       Your rights may be affected. You should read the Plan carefully and discuss it with
your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney,
you may wish to consult one.)

                                          VOTING ON THE PLAN

       PLEASE TAKE NOTICE THAT no class is impaired under the plan. Thus, no voting is
required.




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  The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.
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  For further details on telephonic participation, please refer to Judge Kendig’s Notice of Telephonic Hearing
Procedure, dated March 18, 2020, at https://www.ohnb.uscourts.gov/sites/default/files/memoranda/telephonic-
hearing-procedure-31820.pdf
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            OBJECTING TO THE PLAN OR THE DISCLOSURES THEREIN

        PLEASE TAKE NOTICE THAT the deadline for filing objections to confirmation of
the Plan, or the disclosures therein, is April 12, 2022 (the “Plan Objection Deadline”). Any
objection to the Plan must be in writing, filed with the Court, and served on Debtor’s counsel at
the address listed below so as to be actually received on or before Plan Objection Deadline.

        PLEASE TAKE FURTHER NOTICE THAT all items to be filed with the Court shall
be filed at the following address:

                                      Clerk of Court
                                      U.S. Bankruptcy Court
                                      Ralph Regula Federal Building
                                         and U.S. Courthouse
                                      401 McKinley Avenue, SW
                                      Canton, Ohio 44702

       All items to be served on Debtor’s counsel shall be served at the following address:

                                      Brouse McDowell, LPA
                                      c/o Julie K. Zurn
                                      388 South Main Street, Suite 500
                                      Akron, Ohio 44311
                                      Phone: (330) 434-7459
                                      Fax: (330) 253-8601
                                      jzurn@brouse.com

        If you mail your response to the Court for filing, you must mail it early enough so the Court
will receive it on or before the corresponding deadline.

       You or your attorney must also attend the Confirmation Hearing scheduled above.

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the Plan and may enter an order confirming the Plan and granting any related relief.




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DATED: March 15, 2022                           Respectfully submitted,

                                                /s/ Julie K. Zurn
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                                                Julie K. Zurn (0066391)
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